Case 1:21-cv-00848-RJJ-RSK ECF No. 17-1, PageID.139 Filed 12/02/21 Page 1 of 3



                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

TENIA GOSHAY, PERSONAL REPRESENTATIVE
OF THE ESTATE OF CORNELIUS FREDERICK,
DECEASED,

            Plaintiff,                         Case No. 1:21:-cv-00848
v.                                             Hon. Robert J. Jonker

LAKESIDE FOR CHILDREN d/b/a LAKESIDE
ACADEMY; LAKESIDE ACADEMY; SEQUEL
YOUTH SERVICES OF MICHIGAN, LLC;
SEQUEL TSI HOLDINGS, LLC; SEQUEL YOUTH
AND FAMILY SERVICES, LLC; SEQUEL ACADEMY
HOLDINGS, LLC; SEQUEL YOUTH SERVICES, LLC;
COLE HODGE (DEFENDANT #1); ZACHARY SOLIAS
(DEFENDANT #2); MICHAEL MOSLEY (DEFENDANT #3);
ORLANDO LITTLE, JR. (DEFENDANT #4); COADY RIES
(DEFENDANT #5); MAURICE DAVIS (DEFENDANT #6);
JA’SHON CHEEKS (DEFENDANT #7); BRANDON REYNOLDS
(DEFENDANT #8); HEATHER MCLOGAN (DEFENDANT #9);
and BRADLEY HODGE (DEFENDANT #10)

            Defendants.

GEOFFREY N. FIEGER (P30441)         TODD A. MCCONAGHY (P55675)
FIEGER, FIEGER, KENNEY &            LEE C. PATTON (P26025)
HARRINGTON P.C.                     RONALD S. LEDERMAN (P38199)
Attorney for Plaintiff              SULLIVAN, WARD, PATTON, GLEESON &
19390 West Ten Mile Road            FELTY, PC
Southfield, MI 48075                Attorneys for Defendants Cole Hodge,
(248) 355-5555                      Orlando Little, Jr., Coady Ries, Maurice
g.fieger@fiegerlaw.com              Davis, Ja’shon Cheeks, Brandon
                                    Reynolds, and Bradley Hodge
                                    400 Galleria Officentre, Ste. 500
                                    Southfield, MI 48034
                                    (248) 746-0700 – 248-746-2793 (fax)
                                    tmcconaghy@sullivanwardlaw.com
                                    lpatton@sullivanwardlaw.com
                                    rlederman@sullivanwardlaw.com
Case 1:21-cv-00848-RJJ-RSK ECF No. 17-1, PageID.140 Filed 12/02/21 Page 2 of 3



JONATHAN R. MARKO (P72450)          DANIEL FERRIS (P69633)
MARKO LAW, PLLC                     Kerr, Russell & Weber, PLC
Attorney for Plaintiff              Attorney for Lakeside for Children
300 Broadway Street                 d/b/a Lakeside Academy; Lakeside
Fifth Floor                         Academy; Sequel Youth Services of
Detroit, MI 48226                   Michigan, LLC; Sequel TSI Holdings,
(313) 777-7529;                     LLC; Sequel Youth and Family
Fax (313) 771-5785                  Services, LLC; Sequel Academy
jon@markolaw.com                    Holdings, LLC; Sequel Youth
                                    Services, LLC
GRETCHEN L. OLSEN (P36619)          500 Woodward Ave., Ste. 2500
TANOURY, NAUTS, MCKINNEY &          Detroit, MI 48226-5499
DWAIHY, PLLC                        (313) 961-0200;
Attorney for Michael Mosley         Fax (313) 961-0388
38777 Six Mile Road, Suite 101      dferris@kerr-russell.com
Livonia, MI 48152
(313) 964-4500;
Fax (734) 469-4298
gretchen.olsen@tnmglaw.com

STEVEN J. BONASSO (P55529)          AMY SCHLOTTERER (P59813)
CORBET SHAW ESSAD &                 RUTLEDGE MANION RABAUT
  BONASSO PLLC                        TERRY & THOMAS PC
Attorney for Zachary Solias         Attorney for Heather McLogan
30500 Van Dyke Ave., Suite 500      300 River Place Dr., Ste. 1400
Warren, MI 48093                    Detroit, MI 48207-5095
(313) 964-6300;                     (313) 965-6100;
Fax (313) 964-6310                  Fax (313) 965-6558
steven.bonasso@cseb-law.com         aschlott@rmrtt.com



             RELIANCE UPON PLAINTIFF’S JURY DEMAND

      NOW COME Defendants, COLE HODGE, ORLANDO LITTLE, JR.,

COADY RIES, MAURICE DAVIS, JA’SHON CHEEKS, BRANDON

REYNOLDS, and BRADLEY HODGE, by and through their Attorneys,


                                      2
Case 1:21-cv-00848-RJJ-RSK ECF No. 17-1, PageID.141 Filed 12/02/21 Page 3 of 3



SULLIVAN, WARD, PATTON, GLEESON & FELTY, PC, and hereby rely upon the

Jury Demand requested by Plaintiff, as to the issues of this cause of action.

                                     Respectfully submitted,

                                     SULLIVAN, WARD, PATTON,
                                      GLEESON & FELTY, P.C.

                               By: /s/ Todd A. McConaghy
                                   TODD A. MCCONAGHY (P55675)
                                   LEE C. PATTON (P26025)
                                   RONALD S. LEDERMAN (P38199)
                                   Attorneys for Defendants Cole Hodge,
                                   Orlando Little, Jr., Coady Ries, Maurice
                                   Davis,    Ja’shon      Cheeks,    Brandon
                                   Reynolds, and Bradley Hodge
                                   400 Galleria Officentre, Ste. 500
                                   Southfield, MI 48034
                                   (248) 746-0700
                                   tmcconaghy@sullivanwardlaw.com
                                   lpatton@sullivanwardlaw.com
Dated: December 2, 2021            rlederman@sullivanwardlaw.com
W2534935.DOCX




                           CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing instrument was
electronically filed with the Clerk of the Court using the ECF system which
will serve a copy of same upon all parties to the above cause to each of the
attorneys of record herein at their respective addresses disclosed on the
pleadings on December 2, 2021, by:

            U.S. Mail            Hand Delivered                Other: Email
            Fax                  Overnight Courier
            Fed. Express         Other: Efile

                Signature: /s/ Denise Roulo
                         Sullivan, Ward, Patton, Gleeson & Felty, P.C.


                                       3
